Case 6:17-cv-00533-JDK-JDL Document 1-4 Filed 09/18/17 Page 1 of 2 PageID #: 93




                                         Cause No. DCCV16-356-349A

 CITY OF PALESTINE, TEXAS,                                        IN THE DISTRICT COURT
                                                     §
                   Plaintiff,
                                                     §
                                                     §
 VS.
                                                     §
                                                     §
 JERRYLAZA,
                                                     §
                            Defendant.
                                                     §
                                                                ANDERSON COUNTY, TEXAS
                                                     §
 JERRYLAZA,
                                                     §
                            Counter-plaintiff,
                                                     §
                                                     §
 vs.                                                 §
                                                     §
 CITY OF PALE STINE, MIKE ALEXANDER,
                                                     §
 AND RONALD STUTES,
                                                     §
                    Counter-defendants.                           349th JUDICIAL DISTRICT
                                                     §


                           COUNTER-DEFENDANT CITY OF PALES TINE'S
                            NOTICE OF REMOVAL TO FEDERAL COURT

         PLEASE TAKE NOTICE that, pursuant to 28 U.S.C. §§1441, and 1446, City of Palestine,

 Texas ("Defendant" or "City of Palestine"), Defendant named in the above-styled and severed civil

 action, has filed notice of removal in the United States District Court for the Eastern District of

 Texas, Tyler Division, a copy of which is attached hereto as Exhibit A.

         PLEASE TAKE FURTHER NOTICE that this Notice of Filing, as well as the Notice of

 Removal attached hereto as Exhibit A, has been provided to all adverse parties and filed with the

 3491h Judicial District Court of Anderson County, Texas, thereby effecting the removal of the action

 to the United States District Court for the Eastern District of Texas, pursuant to 28 U.S.C. § 1446(d).

                                                         Respectfully submitted,

                                                         LAW OFFICE OF JAMES D. HANKINS
                                                         606 E. Crawford Street
                                                         Palestine, Texas 75802
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                                                         (903) 729-4732 (Facsimile)
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 DEFENDANT CITY OF PALESTINE'S NOTICE OF REMOVAL TO
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                                                         James D. Hankins
                                                         State Bar No. 08912300

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                                                         By: Is/ J Matt Rowan
                                                                 RONALD D. STUTES
                                                                 State Bar No. 19452600
                                                                 J. MATT ROWAN
                                                                 State Bar No. 24033137

                                                         ATTORNEYS FOR CITY OF PALESTINE



                                    CERTIFICATE OF SERVICE

         I hereby certify that the foregoing has been served via the electronic service provider
 upon Defendant/ Counter Plaintiffs counsel of record, Robert Hindman, 5620 Old Bullard Road,
 Suite 105, Tyler Texas 75703-4358 (attorney@tyler.net), and on James C. Mosser, 2805 Dallas
 Parkway,      Suite     222,   Plano,   Texas   75093    (CourtDocuments@MosserLaw.com)     on
 September 18, 2017.


                                                 Is/ J Matt Rowan
                                                 J. Matt Rowan




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